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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )               8:05CR157
                                             )
                                             )
                     Plaintiff,              )
                                             )
              vs.                            )        REASSIGNMENT ORDER
                                             )
FILEMON VERTURA-SALMERON,                    )
JOSE LUIS JIMENEZ-JIMENEZ and                )
ARTURO HERNANDEZ,                            )
                                             )
                     Defendants.             )


       It has come to this court's attention that the docket sheet reflects that District Judge
Laurie Smith Camp is assigned to this case; however, pursuant to the Indictment (Filing
No. 1) District Judge Lyle E. Strom was in fact the correct judge assigned to this case.
       THEREFORE, IT IS ORDERED that this case is reassigned to District Judge Lyle
E. Strom for disposition and remains assigned to Magistrate Judge Thomas D. Thalken for
judicial supervision and processing of all pretrial matters.
       DATED this 3rd day of June, 2005.
                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             United States District Judge
